              Case 2:19-cv-01671-MJP Document 14 Filed 09/14/20 Page 1 of 3




 1                                                            The Honorable Marsha J. Pechman

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 6                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   RICHARD JOHNSTON,
                                                       No. 2:19-cv-01671-MJP
 9                        Plaintiff,
                     v.                                STIPULATION OF VOLUNTARY
10                                                     DISMISSAL PURSUANT TO FRCP
     NAES CORPORATION,                                 41(a)(1)(A)(ii)
11
                          Defendant.
12

13                                          STIPULATION

14          IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

15   respective counsel(s) that the above-captioned action is voluntarily dismissed with prejudice and

16   without an award of attorneys’ fees and costs to either party, pursuant to Federal Rules of Civil

17   Procedure 41(a)(1)(A)(ii).

18    Dated: September 14, 2020                         Dated: September 14, 2020

19    SEATTLE LITIGATION GROUP, PLLC                    LITTLER MENDELSON P.C.

20
      _/s/ Seth Rosenberg__________________             _/s/ Anne Reuben__________________
21    Seth Rosenberg, WSBA No. 41660                    Anne E. Reuben, WSBA No. 53299
      500 Union Street, Suite 510                       Ryan P. Hammond, WSBA No. 38888
22    Seattle, WA 98101                                 600 University Street, Suite 3200
      Attorney for Plaintiff                            Seattle, WA 98101-3122
23                                                      Attorneys for Defendant


     STIPULATION OF VOLUNTARY DISMISSAL                         SEATTLE LITIGATION GROUP, PLLC
     PURSUANT TO FRCP 41(a)(1)(A)(ii) – 1                                    500 Union Street, Suite 510
                                                                              Seattle, Washington 98101
                                                                  T. (206) 407-3300 | F. (206) 407-3097
              Case 2:19-cv-01671-MJP Document 14 Filed 09/14/20 Page 2 of 3




 1                                               ORDER

 2          IT IS SO ORDERED that the above-entitled action is hereby dismissed with prejudice and

 3   without an award of attorneys’ fees and costs to either party pursuant to FRCP 41(a)(1)(A)(ii).

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 5          DONE this 14th day of September, 2020.

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                                                          Marsha J. Pechman
 9                                                        United States Senior District Judge

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     STIPULATION OF VOLUNTARY DISMISSAL                          SEATTLE LITIGATION GROUP, PLLC
     PURSUANT TO FRCP 41(a)(1)(A)(ii) – 2                                     500 Union Street, Suite 510
                                                                               Seattle, Washington 98101
                                                                   T. (206) 407-3300 | F. (206) 407-3097
              Case 2:19-cv-01671-MJP Document 14 Filed 09/14/20 Page 3 of 3




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 2
                                    CERTIFICATE OF SERVICE
 3
            I certify under penalty of perjury of the laws of the State of Washington that on the date
 4
     stated below, I caused the foregoing STIPULATION OF VOLUNTARY DISMISSAL PURSUANT
 5
     TO FRCP 41(a)(1)(A)(ii) on the following parties:
 6

 7    Anne E. Reuben, WSBA No. 53299                      Via Legal Messenger
      Ryan P. Hammond, WSBA No. 38888                     Via Facsimile
 8    Littler Mendelson, P.C.                             Via Electronic Mail
      600 University Street, Suite 3200                   Via U.S. Mail/Commercial Post
 9    Seattle, WA 98101-3122                              Via CM/ECF
      Email: areuben@littler.com                          Via Hand-Delivery
10    Email: rhammond@littler.com
      Attorneys for Defendant
11

12
            The foregoing statement is made under the penalty of perjury under the laws of the
13
     United States of America and the State of Washington and is true and correct.
14

15
            DATED this 14th day of September 2020
16

17                                     SEATTLE LITIGATION GROUP, PLLC

18
                                       /s/ Sean Stevens__________
19                                     Sean Stevens
                                       Paralegal
20

21

22

23


     STIPULATION OF VOLUNTARY DISMISSAL                         SEATTLE LITIGATION GROUP, PLLC
     PURSUANT TO FRCP 41(a)(1)(A)(ii) – 3                                    500 Union Street, Suite 510
                                                                              Seattle, Washington 98101
                                                                  T. (206) 407-3300 | F. (206) 407-3097
